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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION


UNITED STATES OF AMERICA,                  )
                                           )
                 Plaintiff,                )
                                           )
          v.                               )        No. 4:05 CR 173 DJS
                                           )                        DDN
DAVID ANDREW MAPLES and                    )
DWIGHT ANDREW PAULEY,                      )
                                           )
                 Defendants.               )

                         ORDER AND RECOMMENDATION
                    OF UNITED STATES MAGISTRATE JUDGE

     This action is before the court upon the pretrial motions of
defendant Dwight Andrew Pauley which were referred to the undersigned
United States Magistrate Judge pursuant to 28 U.S.C. § 636(b).                      An
evidentiary hearing was set for May 9, 2005.
     On May 9, 2005, defendant Dwight Andrew Pauley appeared in open
court, with counsel, and advised the undersigned that he had decided not
to raise any issues by way of pretrial motions.              He thereupon waived his
rights to file pretrial motions and to have a pretrial hearing.
     Upon this record,
     IT IS HEREBY ORDERED that the motion of the government for a
determination of the admissibility of defendant Pauley’s statements
(Doc. 24) is denied as moot.
     IT IS HEREBY RECOMMENDED that the motion of defendant Pauley to
suppress evidence and statements (Doc. 38) be denied as moot.
     The parties are advised they have ten (10) days to file written
objections to this Order and Recommendation.                   The failure to file
objections may result in a waiver of the right to appeal issues of fact.




                                         DAVID D. NOCE
                                         UNITED STATES MAGISTRATE JUDGE


Signed this day, May 10, 2005.
